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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 1:23-cv-01108-DDD



BARRY MORPHEW,
                             Plaintiff(s),
 v.

CHAFFEE COUNTY, et al.
                             Defendant(s).



                    NOTICE OF APPEAL FROM FINAL JUDGMENT


      Barry Morphew, through counsel, Jane Fisher-Byrialsen, Iris Eytan and Hollis Whitson

appeals to the United States Court of Appeals for the Tenth Circuit from the final judgment

entered on September 24, 2024. (Doc Nos. 161 and 162).

October 24, 2024

                                               FISHER & BYRIALSEN, P.L.L.C.

                                                    /s/Jane Fisher- Byrialsen

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                                  CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing Notice of Appeal was
electronically filed on October 24, 2024 using the CM/ECF system, which will be automatically
served on the following:


       All parties will be notified via ECF.



                                               FISHER & BYRIALSEN, P.L.L.C.

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